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                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

  DANIELA OMOKWALE,                       §
                                          §
         Plaintiff,                       §
                                          §
  v.                                      § Civil Action No. 3:23-CV-0354-X
                                          §
  BAYLOR UNIVERSITY—LOUISE                §
  HERRINGTON SCHOOL OF                    §
  NURSING,                                §
                                          §
         Defendants.                      §

        MEMORANDUM OPINION, ORDER, AND FINAL JUDGMENT

       The Court DISMISSES WITH PREJUDICE all of Plaintiff Daniela

Omokwale’s claims against Defendant Baylor University for failure to prosecute and

follow Court orders under Rule 41(b).      Previously, the Court dismissed without

prejudice Omokwale’s breach-of-contract claim against Baylor University but allowed

Omokwale 28 days to replead her claim. (Doc. 24). Her 28-day window for repleading

has passed, and the Court does not have an amended pleading. Therefore, the Court

DISMISSES WITH PREJUDICE this case.

       Each party shall bear its own fees and costs. This is a final judgment.

       IT IS SO ORDERED this 14th day of August, 2024.



                                       ___________________________________
                                       BRANTLEY STARR
                                       UNITED STATES DISTRICT JUDGE




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